                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

ANGELO PORRELLO,                                  )
                                                  )
                     Movant,                      )
                                                  )
vs.                                               )   Case No. 09-0846-CV-W-ODS
                                                  )   Crim. No. 00-00004-08-CR-W-ODS
UNITED STATES OF AMERICA,                         )
                                                  )
                     Respondent.                  )

  ORDER AND OPINION (1) DENYING MOTION FOR POSTCONVICTION RELIEF
     PURSUANT TO 28 U.S.C. § 2255 AND (2) DENYING CERTIFICATE OF
                            APPEALABILITY

       Pending is Movant’s Motion for Postconviction Relief Pursuant to 28 U.S.C. §
2255. The motion is denied, and the Court declines to issue a Certificate of
Appealability.
       Movant was convicted in March 2001 on a variety of charges relating to a series
of jewelry store robberies. The case was remanded twice, once to resolve a discovery
matter and once for resentencing in light of United States v. Booker and Blakely v.
Washington. In the third appeal to the Court of Appeals, the Government appealed two
of the other defendant’s sentences, and those defendants – along with Movant – cross-
appealed their sentences. The Court of Appeals affirmed Movant’s sentence. United
States v. Hatcher, 501 F.3d 931 (8th Cir. 2007). Movant filed a Petition for Writ of
Certiorari, which was denied on January 22, 2008. Porerello v. United States, 552 U.S.
1170 (2008) (Order denying Petition for Writ of Certiorari).
       The instant postconviction proceeding was filed on October 14, 2009. On the
last page, Movant indicated he placed it in the prison mail system on October 9, 2009.
Thus, the proceeding is deemed to have commenced on October 9, 2009. See
Houston v. Lack, 487 U.S. 266, 270 (1988). However, a motion for postconviction relief
generally must be filed within one year of when the conviction becomes final. 28 U.S.C.
§ 2255(f). The motion in this case is untimely.




      Case 4:00-cr-00004-ODS        Document 826       Filed 04/01/11    Page 1 of 2
       Anticipating this difficulty, Movant has invoked section 2255(f)(3), which permits a
motion for postconviction relief to be filed within one year of “the date on which the right
asserted was initially recognized by the Supreme Court, if that right has been newly
recognized by the Supreme Court and made retroactively applicable to cases on
collateral review.” Movant contends each of his claims depends on the Supreme
Court’s decision in three different cases:
•      United States v. Watson, 552 U.S. 74 (2007)
•      United States v. Gonzalez-Lopez, 548 U.S. 140 (2006)
•      United States v. Santos, 553 US. 507 (2008)
Assuming, without deciding, that any of these cases initially recognized a new right that
was made retroactive to cases on collateral review, the motion is still untimely because
it was not filed within one year of any of these decisions. Santos is the latest of these
decisions, and it was decided on June 2, 2008 – more than one year before Movant
initiated this proceeding in October 2009.
       In order to appeal the denial of his claims, Movant must first obtain a Certificate
of Appealability. 28 U.S.C. § 2253(c)(2) provides that a Certificate of Appealability
should be granted “only if the applicant has made a substantial showing of the denial of
a constitutional right.” This requires the Court to determine “that reasonable jurists
could debate whether (or, for that matter, agree that) the petition should have been
resolved in a different manner or that the issues presented were adequate to deserve
encouragement to proceed further." Miller-El v. Cockrell, 537 U.S. 322, 336 (2003)
(quotation omitted). In this case, there can be no disagreement that Movant’s request
for postconviction relief is untimely, and further proceedings are not warranted.
       For these reasons, the Court denies the motion for postconviction relief and
declines to issue a Certificate of Appealability.
IT IS SO ORDERED.



                                                    /s/ Ortrie D. Smith
                                                    ORTRIE D. SMITH, JUDGE
DATE: April 1, 2011                                 UNITED STATES DISTRICT COURT

                                              2


      Case 4:00-cr-00004-ODS         Document 826       Filed 04/01/11    Page 2 of 2
